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                                  #:7076




                          EXHIBIT 13
          Case 5:21-cv-00616-JWH-SP Document 284-15 Filed 05/23/23 Page 2 of 27 Page ID
                                            #:7077
  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                             for the
                                                           Central District
                                                         __________         of of
                                                                     District  California
                                                                                  __________
                       Goldwater Bank, N.A.
                                                                                )
                                 Plaintiff                                      )
                                    v.                                          )        Civil Action No. 5:21-cv-00616-JWH-SP
         Artur Elizarov, Unison Agreement Corp.,
    ScottHowlett, Bank of the West and ilya Alekseyeff
                                                                                )
                                                                                )
                                Defendant                                       )

                          SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                            OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                       Weststar Mortgage Corporation dba Weststar Pacific Mortage
   To:
                              c/o INCORP Service Inc. 5716 Corsa Ave., Suite 110, Westlake Village, CA 91362
                                                         (Name of person to whom this subpoena is directed)

      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material:

              See Attachment 1

    Place: First Legal Records c/o Accurate Process Serving &                             Date and Time:
             Notary
                                                                                                          March 20, 2023 at 10:00am
             11433 San Bernardino Dr., NE Albuquerque, NM 87122

       ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

    Place:                                                                               Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
  Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
  respond to this subpoena and the potential consequences of not doing so.

  Date:      March 3, 2023

                                    CLERK OF COURT
                                                                                              OR

                                             Signature of Clerk or Deputy Clerk                                         Attorney’s signature


  The name, address, e-mail address, and telephone number of the attorney representing (name of party) Scott Howlett and
 Bank of the West                                                         , who issues or requests this subpoena, are:
Kasandra Goldberg; Hall Griffin LLP;1851 E. First St. 10th Floor, Santa Ana, CA 92705;kgoldberg@hallgriffin.com; (714)918-7000

                                 Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things or the
  inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
  it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 5:21-cv-00616-JWH-SP Document 284-15 Filed 05/23/23 Page 3 of 27 Page ID
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 5:21-cv-00616-JWH-SP

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                ITEMS TO BE PRODUCED
                                       DEFINITIONS
          A.        “PERSON(S)” includes any natural person, firm, association,
 organization, partnership, business, trust, corporation, governmental or public
 entity or any other form of legal entity.
          B.        “DOCUMENT” or “DOCUMENTS” refers to writings, drawings,
 graphs, charts, photographs, sound recordings, images, and other data
 compilations, whether or not electronically stored, from which information can be
 obtained either directly, or, if necessary, after translation by you into a reasonably
 usable form, as well as any designated tangible thing.
          C.        “COMMUNICATION(S)” means any oral, written or electronic
 transmission of information, including but not limited to meetings, discussions,
 conversations, telephone calls, telegrams, memoranda, letters, emails, conferences,
 messages, notes or seminars.
          D.        “RELATING TO,” “RELATED TO” or “RELATE(S) TO” means
 constituting, containing, concerning, embodying, reflecting, identifying, stating,
 mentioning, discussing, describing, evidencing, or in any other way being relevant
 to that given subject matter.
          E.        “GWB DEED OF TRUST” shall mean the Deed of Trust a copy of
 which is attached hereto as Exhibit A.
          F.        “ELIZAROV LOAN” shall mean the loan given to Artur Elizarov by
 GOLDWATER in 2019 evidenced by the GWB DEED OF TRUST.
          G.        “GOLDWATER” shall mean Plaintiff Goldwater Bank N.A. and all
 of its officers, employees, and agents, including attorneys, or others acting on its
 behalf.
          H.        “FATCO” shall mean First American Title Insurance Company.



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          I.        “YOU” and “YOUR” shall mean Weststar Mortgage Corporation dba
 Weststar Pacific Corporation.
          J.        “RELEVANT PERIOD” shall mean the period between 2019 and
 2023 in which YOU serviced the ELIZAROV LOAN.
          K.        “POLICIES AND PROCEDURES” shall mean YOUR rules or
 guidelines YOUR employees follow to achieve compliance about a specified topic
 and the instructions on how those rule and guidelines are followed.
          L.        “AGREEMENT” shall mean any arrangement between parties as to a
 course of action.
                    INSTRUCTIONS FOR PRODUCTION OF DOCUMENTS
     1. The singular form of a word shall include the plural, and the plural form
 shall include the singular, wherever necessary to bring within the scope of this
 demand any information which might otherwise be construed to be outside the
 scope.
     2. The terms “and” as well as “or” shall be construed either conjunctively, or
 disjunctively, wherever necessary to bring within the scope of the demand any
 information which might otherwise be construed to be outside its scope.
                    REQUESTS FOR PRODUCTION OF DOCUMENTS
 REQUEST FOR PRODUCTION NO. 1:
          YOUR policies and procedures in effect at the time YOU began servicing
 the ELIZAROV LOAN RELATED TO onboarding a residential real estate secured
 loan.
 REQUEST FOR PRODUCTION NO. 2:
          YOUR POLICIES AND PROCEDURES in effect as of May 2020
 RELATED TO onboarding a residential real estate secured loan.
 ///



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 REQUEST FOR PRODUCTION NO. 3:
          All DOCUMENTS comprising any AGREEMENT between YOU and
 GOLDWATER through which YOU serviced the ELIZAROV LOAN.
 REQUEST FOR PRODUCTION NO. 4:
          All DOCUMENTS comprising any tolling AGREEMENT between YOU
 and GOLDWATER RELATED TO the ELIZAROV LOAN.
 REQUEST FOR PRODUCTION NO. 5:
          All COMMUNICATIONS RELATED TO the recordation of the GWB
 DEED OF TRUST during the RELEVANT PERIOD.
 REQUEST FOR PRODUCTION NO. 6:
          All COMMUNICATIONS between YOU and GOLDWATER RELATED
 TO the transfer of the servicing of the ELIZAROV LOAN from GOLDWATER to
 YOU.
 REQUEST FOR PRODUCTION NO. 7:
          All COMMUNICATIONS between YOUR employee, Devin Lucero-Miller
 and Brittany Shaw between February 1, 2021 and April 21, 2021 RELATED TO
 the ELIZAROV LOAN.
 REQUEST FOR PRODUCTION NO. 8:
          All COMMUNICATIONS between YOUR employee, Devin Lucero-Miller
 and Brittany Shaw between February 1, 2021 and April 21, 2021 RELATED TO
 the GWB DEED OF TRUST.




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                        EXHIBIT A
BranchCase
Branch :OBS 5:21-cv-00616-JWH-SP
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              User :DBRO                                  Document 284-15 Filed 05/23/23 Page 9 of 27 Page ID
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  {        ©          .                               N                                             04/20/2021 03:02 PM Fees: $147.00
  °    ~~ RECORDING REQUESTED BY                                     w                              Page 1 of 17
               STEWART TITLE OF CA, INC.                                                            Recorded in Official Records
                                                                                                    County of Riverside
               When recorded, mail to:                                                              Peter Aldana
               Goldwater Bank, N.A.                                                                 Assessor-County Clerk-Recorder
               Attn: Final Document Department
               P.O. Box 25064
               Albuquerque, NM 87125                                                                **This document was electronically submitted
               844-799-4653                                                                         to the County of Riverside for recording**
                                                                                                    Receipted by: ELENA #448




               Title Order No.: 0625-5974427
               Escrow No.: 0625-5974427
               LOAN #: 909216931




                                                           [Space Above This Line For Recording Data]

                                                                  DEED OF TRUST
                             .                    .                                                           MIN 1009209-4100147547-4
                  Accommodation            Recording                                                          MERS PHONE #: 1-888-679-6377


               DEFINITIONS
               Words used in multiple sections of this document are defined below and other words are defined in Sections 3, 11, 13, 18,
               20 and 21. Certain rules regarding the usage of words used in this document are also provided in Section 16.
               (A) “Security Instrument” means this document, which is dated July 31, 2019,                             together with all
               Riders to this document.
               (B) “Borrower” is ARTUR ELIZAROV, AN UNMARRIED MAN.




               Borrower's address is 828 Westmount Drive, West Hollywood, CA 90069.


               Borrower is the trustor under this Security Instrument.
               (C)   “Lender” is   Goldwater Bank, N.A..




               Lender is a Corporation,                                                                 organized and existing under the laws of
               The United States of America.                                   .        Lender's addressis       2525 E. Camelback Rd, Suite
               1100, Phoenix, AZ 85016.



               CALIFORNIA — Single Family — Fannie Mae/Freddie Mac UNIFORM INSTRUMENT        Form 3005 1/01
                Ellie Mae, Inc.                                          Page 1 of 13                                                CAEDEDL 0219
                                                                                                                                      CAEDEDL (CLS)
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                                                                                                                       LOAN #: 909216931
          (D) “Trustee” is      First American Title Company.



          (E) “MERS” is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is acting solely as a
          nominee for Lender and Lenders successors and assigns. MERS is the beneficiary under this Security Instrument.
          MERS is organized and existing under the laws of Delaware, and has an address and telephone number of P.O. Box 2026,
          Flint, MI 48501-20286, tel. (888) 679-MERS.
          (F) “Note” means the promissory note signed by Borrower and dated July 31, 2019.                             The Note
          states that Borrower owes Lender SIX HUNDRED EIGHTY SIX THOUSAND TWO HUNDRED FIFTY AND NO/100* *
          khkhkkhkhkdhdhdhdhodhbddhbdddhbdddkdhddhdh           hd   ddd   ddhkddhkdhdkddkddddih    Dollars   (U.S   $686,250.00               )
                                                                                                               De       3.   «
          plus interest. Borrower has promised to pay this debt in regular Periodic Payments and to pay the debt in full not later than
          August 1, 2049.
          (G) “Property” means the property that is described below under the heading “Transfer of Rights in the Property”
          (H) “Loan” means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due under the
          Note, and all sums due under this Security Instrument, plus interest.
          (I) “Riders” means all Riders to this Security Instrument that are executed by Borrower. The following Riders are fo be
          executed by Borrower [check box as applicable]:
                [xX] Adjustable Rate Rider        [J Condominium Rider                              [J Second Home Rider
                [1 Balloon Rider                  [J Planned Unit Development Rider                 [1 Other(s) [specify]
                [] 1-4 Family Rider               [1 Biweekly Payment Rider
                [1 V.A. Rider


          (J) “Applicable Law” means all controlling applicable federal, state and local statutes, regulations, ordinances and admin-
          istrative rules and orders (that have the effect of law) as well as all applicable final, non-appealable judicial opinions.
          (K)   “Community      Association Dues, Fees, and Assessments” means all dues, fees, assessments and other charges that
          are imposed on Borrower or the Property by a condominium association, homeowners association or similar organization.
          (L) “Electronic Funds Transfer” means any transfer of funds, other than a transaction originated by check, draft, or
          similar paper instrument, which is initiated through an electronic terminal, telephonic instrument, computer, or magnetic
          tape so as to order, instruct, or authorize a financial institution to debit or credit an account. Such term includes, but is not
          limited to, point-of-sale transfers, automated teller machine transactions, transfers initiated by telephone, wire transfers,
          and automated clearinghouse transfers.
          (M) “Escrow Items” means those items that are described in Section 3.
          (N) “Miscellaneous Proceeds” means any compensation, settlement, award of damages, or proceeds paid by any third
          party (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to, or destruction of,
          the Property; (ii) condemnation or other taking of all or any part of the Property; (iii) conveyance in lieu of condemnation; or
          (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.
          (0) “Mortgage Insurance” means insurance protecting Lender against the nonpayment of, or default on, the Loan.
          (P) “Periodic Payment” means the regularly scheduled amount due for (i) principal and interest under the Note, plus
          (ify any amounts under Section 3 of this Security Instrument.
          (Q) “RESPA” means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et seq.) and its implementing regulation,
          Regulation X (12 C.F.R. Part 1024), as they might be amended from time to time, or any additional or successor legislation
          or regulation that governs the same subject matter. As used in this Security Instrument, “RESPA' refers to all requirements
          and restrictions that are imposed in regard to a “federally related mortgage loan” even if the Loan does not qualify as a
          “federally related mortgage loan” under RESPA.
          (R) “Successor in Interest of Borrower” means any party that has taken title to the Property, whether or not that party
          has assumed Borrower's obligations under the Note and/or this Security Instrument.

          TRANSFER OF RIGHTS IN THE PROPERTY
           The beneficiary of this Security Instrument is MERS (solely as nominee for Lender and Lender's successors and assigns)
           and the successors and assigns of MERS. This Security Instrument secures to Lender: (i) the repayment of the Loan, and

           CALIFORNIA — Single Family — Fannie Mae/Freddie Mac UNIFORM INSTRUMENT        Form 3005 1/01
           Ellie Mae, Inc.                                            Page 2 of 13                                               CAEDEDL   0219
                                                                                                                               CAEDEDL (CLS)
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                                                                                                                        LOAN #: 909216931
          all renewals, extensions and modifications of the Note; and (ji) the performance of Borrower's covenants and agreements
          under this Security Instrument and the Note. For this purpose, Borrower irrevocably grants and conveys to Trustee, in trust,
          with power of sale, the following described property located in the County                       [Type of Recording Jurisdiction]
          of Riverside                                               [Name of Recording Jurisdiction]:
          LOT 8 OF BLOCK 7, PALM CANYON               MESA TRACT, AS PER MAP RECORDED IN BOOK 12, PAGES 52
          THROUGH 56, BOTH INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.
          APN #: 513-363-023-2




          which currently has the address of      291 W. Overlook Road, Palm Springs,
                                                                                                                                   [Street] [City]
          California   92264-8934               (“Property Address”):
                              [Zip Code]


                TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements, appurtenances,
          and fixtures now or hereafter a part of the property. All replacements and additions shall also be covered by this Security
          Instrument. All of the foregoing is referred to in this Security Instrument as the “Property.” Borrower understands and agrees
          that MERS holds only legal title to the interests granted by Borrower in this Security Instrument, but, if necessary to comply
          with law or custom, MERS (as nominee for Lender and Lender's successors and assigns) has the right: to exercise any or
          all of those interests, including, but not limited to, the right to foreclose and sell the Property; and to take any action required
          of Lender including, but not limited to, releasing and canceling this Security Instrument.

              BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right to grant
          and convey the Property and that the Property is unencumbered, except for encumbrances of record. Borrower warrants
          and will defend generally the title to the Property against all claims and demands, subject to any encumbrances of record.

               THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with limited
          variations by jurisdiction to constitute a uniform security instrument covering real property.

               UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
               1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges. Borrower shall pay
          when due the principal of, and interest on, the debt evidenced by the Note and any prepayment charges and late charges
          due under the Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments due under the Note
          and this Security Instrument shall be made in U.S. currency. However, if any check or other instrument received by Lender
          as payment under the Note or this Security Instrument is returned to Lender unpaid, Lender may require that any or all
          subsequent payments due under the Note and this Security Instrument be made in one or more of the following forms, as
          selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashiers check, provided
          any such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality, or entity; or
          (d) Electronic Funds Transfer.
               Payments are deemed received by Lender when received at the location designated in the Note or at such other
          location as may be designated by Lender in accordance with the notice provisions in Section 15. Lender may return any
          payment or partial payment if the payment or partial payments are insufficient to bring the Loan current. Lender may accept
          any payment or partial payment insufficient to bring the Loan current, without waiver of any rights hereunder or prejudice

          CALIFORNIA - Single Family — Fannie Mae/Freddie Mac UNIFORM INSTRUMENT          ~~ Form 3005 1/01
          Ellie Mae, Inc.                                           Page 3 of 13                                               CAEDEDL   0219
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                                                                                                                    LOAN #: 909216931
          to its rights to refuse such payment or partial payments in the future, but Lender is not obligated to apply such payments
          at the time such payments are accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender
          need not pay interest on unapplied funds. Lender may hold such unapplied funds until Borrower makes payment to bring
          the Loan current. If Borrower does not do so within a reasonable period of time, Lender shall either apply such funds or
          return them to Borrower. If not applied earlier, such funds will be applied to the outstanding principal balance under the
          Note immediately prior to foreclosure. No offset or claim which Borrower might have now or in the future against Lender
          shall relieve Borrower from making payments due under the Note and this Security Instrument or performing the covenants
          and agreements secured by this Security Instrument.
                2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments accepted
          and applied by Lender shall be applied in the following order of priority: (a) interest due under the Note; (b) principal due
          under the Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic Payment in the order
          in which it became due. Any remaining amounts shall be applied first to late charges, second to any other amounts due
          under this Security Instrument, and then to reduce the principal balance of the Note.
                If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient amount to
          pay any late charge due, the payment may be applied to the delinquent payment and the late charge. If more than one
          Periodic Payment is outstanding, Lender may apply any payment received from Borrower to the repayment of the Periodic
          Payments if, and to the extent that, each payment can be paid in full. To the extent that any excess exists after the payment
          is applied to the full payment of one or more Periodic Payments, such excess may be applied to any late charges due.
          Voluntary prepayments shall be applied first to any prepayment charges and then as described in the Note.
                Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note shall not
          extend or postpone the due date, or change the amount, of the Periodic Payments.
                3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the Note,
          until the Note is paid in full, a sum (the “Funds”) to provide for payment of amounts due for: (a) taxes and assessments and
          other items which can attain priority over this Security Instrument as a lien or encumbrance on the Property; (b) leasehold
          payments or ground rents on the Property, if any; (c) premiums for any and all insurance required by Lender under Section 5;
          and (d) Mortgage Insurance premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of Mortgage
          Insurance premiums in accordance with the provisions of Section 10. These items are called “Escrow tems.” At origination
          or at any time during the term of the Loan, Lender may require that Community Association Dues, Fees, and Assessments,
          if any, be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item. Borrower shall promptly
          furnish to Lender all notices of amounts to be paid under this Section. Borrower shall pay Lender the Funds for Escrow
          Items unless Lender waives Borrower's obligation to pay the Funds for any or all Escrow ltems. Lender may waive Bor
          rower's obligation to pay to Lender Funds for any or all Escrow ltems at any time. Any such waiver may only be in writing.
          In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts due for any Escrow Items
          for which payment of Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing
          such payment within such time period as Lender may require. Borrower's obligation to make such payments and to provide
          receipts shall for all purposes be deemed to be a covenant and agreement contained in this Security Instrument, as the
          phrase “covenant and agreement” is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a
          waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights under Section 9 and
          pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such amount. Lender may
          revoke the waiver as to any or all Escrow Items at any time by a notice given in accordance with Section 15 and, upon such
          revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then required under this Section 3.
                Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lenderto apply the Funds at the
          time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESPA. Lender shall
          estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures of future Escrow
          ltems or otherwise in accordance with Applicable Law.
                The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or entity
          (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan Bank. Lender shall
          apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender shall not charge Borrower
          for holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow Items, unless Lender
          pays Borrower interest on the Funds and Applicable Law permits Lender to make such a charge. Unless an agreement is
          made in writing or Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower
          any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that interest shall be paid on
          the Funds. Lender shall give to Borrower, without charge, an annual accounting of the Funds as required by RESPA.

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                If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower   for the excess
          funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under RESPA, Lender shall
          notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the shortage
          in accordance with RESPA, but in no more than 12 monthly payments. If there is a deficiency of Funds held in escrow, as
          defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount
          necessary to make up the deficiency in accordance with RESPA, but in no more than 12 monthly payments.
                Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to Borrower any
          Funds held by Lender.
               4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable to the
          Property which can attain priority over this Security Instrument, leasehold payments or ground rents on the Property, if
          any, and Community Association Dues, Fees, and Assessments, if any. To the extent that these items are Escrow Items,
          Borrower shall pay them in the manner provided in Section 3.
               Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower: (a) agrees
          in writing to the payment of the obligation secured by the lien in a manner acceptable to Lender, but only so long as Bor
          rower is performing such agreement; (b) contests the lien in good faith by, or defends against enforcement of the lien in,
          legal proceedings which in Lender's opinion operate to prevent the enforcement of the lien while those proceedings are
          pending, but only until such proceedings are concluded; or (c) secures from the holder of the lien an agreement satisfactory
          to Lender subordinating the lien to this Security Instrument. If Lender determines that any part of the Property is subject to
          a lien which can attain priority over this Security Instrument, Lender may give Borrower a notice identifying the lien. Within
          10 days of the date on which that notice is given, Borrower shall satisfy the lien or take one or more of the actions set forth
          above in this Section 4.
                Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service used
          by Lender in connection with this Loan.
               5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the Property
          insured against loss by fire, hazards included within the term “extended coverage,’ and any other hazards including, but not
          limited to, earthquakes and floods, for which Lender requires insurance.
                                                                                This insurance shall be maintained in the amounts
          (including deductible levels) and for the periods that Lender requires. What Lender requires pursuant to the preceding sen-
          tences can change during the term of the Loan. The insurance carrier providing the insurance shall be chosen by Borrower
          subject to Lender's right to disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may
          require Borrower to pay, in connection with this Loan, either: (a) a one-time charge for flood zone determination, certifica-
          tion and tracking services; or (b) a one-time charge for flood zone determination and certification services and subsequent
          charges each time remappings or similar changes occur which reasonably might affect such determination or certification.
          Borrower shall also be responsible for the payment of any fees imposed by the Federal Emergency Management Agency
          in connection with the review of any flood zone determination resulting from an objection by Borrower.
                If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage, at Lender's
          option and Borrower's expense. Lender is under no obligation to purchase any particular type or amount of coverage. There-
          fore, such coverage shall cover Lender, but might or might not protect Borrower, Borrower's equity in the Property, or the
          contents of the Property, against any risk, hazard or liability and might provide greater or lesser coverage than was previ-
          ously in effect. Borrower acknowledges that the cost of the insurance coverage so obtained might significantly exceed the
          cost of insurance that Borrower could have obtained.      Any amounts disbursed by Lender under this Section 5 shall become
          additional debt of Borrower secured by this Security Instrument. These amounts shall bear interest at the Note rate from the
          date of disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting payment.
               All insurance policies required by Lender and renewals of such policies shall be subject to Lender's right to disapprove
          such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an. additional
          loss payee and Borrower further agrees to generally assign rights to insurance proceeds to the holder of the Note up to the
          amount of the outstanding loan balance. Lender shall have the right to hold the policies and renewal certificates. If Lender
          requires, Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices. If Borrower obtains any
          form of insurance coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such policy
          shall include a standard mortgage clause and shall name Lender as mortgagee and/or as an additional loss payee and
          Borrower further agrees to generally assign rights to insurance proceeds to the holder of the Note up to the amount of the
          outstanding loan balance.
                In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may make proof of
          loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any insurance proceeds,

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          whether or not the underlying insurance was required by Lender, shall be applied to restoration or repair of the Property, if
          the restoration or repair is economically feasible and Lender's security is not lessened. During such repair and restoration
          period, Lender shall have the right to hold such insurance proceeds until Lender has had an opportunity to inspect such
          Property to ensure the work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken
          promptly. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of progress pay-
          ments as the work is completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on
          such insurance proceeds, Lender shall not be required to pay Borrower any interest or earnings on such proceeds. Fees for
          public adjusters, or other third parties, retained by Borrower shall not be paid out of the insurance proceeds and shall be the
          sole obligation of Borrower. If the restoration or repair is not economically feasible or Lender's security would be lessened,
          the insurance proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with the
          excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
               If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and related
          matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has offered to settle
          a claim, then Lender may negotiate and settle the claim. The 30-day period will begin when the notice is given. In either
          event, or if Lender acquires the Property under Section 22 or otherwise, Borrower hereby assigns to Lender (a) Borrower's
          rights to any insurance proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instru-
          ment, and (b) any other of Borrower's rights (other than the right to any refund of unearned premiums paid by Borrower)
          under all insurance policies covering the Property, insofar as such rights are applicable to the coverage of the Property.
          Lender may use the insurance proceeds either to repair or restore the Property or to pay amounts unpaid under the Note
          or this Security Instrument, whether or not then due.
                6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence within
          60 days after the execution of this Security Instrument and shall continue to occupy the Property as Borrower's principal
          residence for at least one year after the date of occupancy, unless Lender otherwise agrees in writing, which consent shall
          not be unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower's control.
                7.  Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy, damage
          or impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not Borrower is resid-
          ing in the Property, Borrower shall maintain the Property in order to prevent the Property from deteriorating or decreasing
          in value due to its condition. Unless it is determined pursuant to Section 5 that repair or restoration is not economically
          feasible, Borrower shall promptly repair the Property if damaged to avoid further deterioration or damage. If insurance or
          condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower shall be respon-
          sible for repairing or restoring the Property only if Lender has released proceeds for such purposes. Lender may disburse
          proceeds for the repairs and restoration in a single payment or in a series of progress payments as the work is completed.
          If the insurance or condemnation proceeds are not sufficient to repair or restore the Property, Borrower is not relieved of
          Borrower's obligation for the completion of such repair or restoration.
                Lender or its agent may make reasonable entries upon and inspections of the Property. If it has reasonable cause,
          Lender may inspect the interior of the improvements on the Property. Lender shall give Borrower notice at the time of or
          prior to such an interior inspection specifying such reasonable cause.
                8. Borrower’s Loan Application. Borrower shall be in default if, during the Loan application process, Borrower or
          any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent gave materially false,
          misleading, or inaccurate information or statements to Lender (or failed to provide Lender with material information) in
          connection with the Loan. Material representations include, but are not limited to, representations concerning Borrower's
          occupancy of the Property as Borrower's principal residence.
                9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. If (a) Borrower
          fails to perform the covenants and agreements contained in this Security Instrument, (b) there is a legal proceeding that
          might significantly affect Lender's interest in the Property and/or rights under this Security Instrument (such as a proceeding
          in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which may attain priority over this Security
          Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for
          whatever is reasonable or appropriate to protect Lender's interest in the Property and rights under this Security Instrument,
          including protecting and/or assessing the value of the Property, and securing and/or repairing the Property. Lender’s actions
          can include, but are not limited to: (a) paying any sums secured by a lien which has priority over this Security Instrument;
           (b) appearing in court; and (c) paying reasonable attorneys’ fees to protect its interest in the Property and/or rights under
          this Security Instrument, including its secured position in a bankruptcy proceeding. Securing the Property includes, but is
          not limited to, entering the Property to make repairs, change locks, replace or board up doors and windows, drain water

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          from pipes, eliminate building or other code violations or dangerous conditions, and have utilities turned on or off. Although
          Lender may take action under this Section 9, Lender does not have to do so and is not under any duty or obligation to do
          so. It is agreed that Lender incurs no liability for not taking any or all actions authorized under this Section 9.
                Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this Security
          Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall be payable, with
          such interest, upon notice from Lender to Borrower requesting payment.
                If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease. Borrower shall
          not surrender the leasehold estate and interests herein conveyed or terminate or cancel the ground lease. Borrower shall
          not, without the express written consent of Lender, alter or amend the ground lease. If Borrower acquires fee title to the
          Property, the leasehold and the fee title shall not merge unless Lender agrees to the merger in writing.
                10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan, Borrower shall pay
          the premiums required to maintain the Mortgage Insurance in effect. If, for any reason, the Mortgage Insurance coverage
          required by Lender ceases to be available from the mortgage insurer that previously provided such insurance and Borrower
          was required to make separately designated payments toward the premiums for Mortgage Insurance, Borrower shall pay
          the premiums required to obtain coverage substantially equivalent to the Mortgage Insurance previously in effect, at a cost
          substantially equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate mortgage
          insurer selected by Lender. If substantially equivalent Mortgage Insurance coverage is not available, Borrower shall continue
          to pay to Lender the amount of the separately designated payments that were due when the insurance coverage ceased
          to be in effect. Lender will accept, use and retain these payments as a non-refundable loss reserve in lieu of Mortgage
          Insurance. Such loss reserve shall be non-refundable, notwithstanding the fact that the Loan is ultimately paid in full, and
          Lender shall not be required to pay Borrower any interest or earnings on such loss reserve. Lender can no longer require
          loss reserve payments if Mortgage Insurance coverage (in the amount and for the period that Lender requires) provided by
          an insurer selected by Lender again becomes available, is obtained, and Lender requires separately designated payments
          toward the premiums for Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan and
          Borrower was required to make separately designated payments toward the premiums for Mortgage Insurance, Borrower
          shall pay the premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve,
          until Lender’s requirement for Mortgage Insurance ends in accordance with any written agreement between Borrower and
          Lender providing for such termination or until termination is required by Applicable Law. Nothing in this Section 10 affects
          Borrower's obligation to pay interest at the rate provided in the Note.
                Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur if Borrower
          does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.
                Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into agree-
          ments with other parties that share or modify their risk, or reduce losses. These agreements are on terms and conditions
          that are satisfactory to the mortgage insurer and the other party (or parties) to these agreements. These agreements may
          require the mortgage insurer to make payments using any source of funds that the mortgage insurer may have available
          (which may include funds obtained from Mortgage Insurance premiums).
                As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any other entity, or
          any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive from (or might be characterized
          as) a portion of Borrower's payments for Mortgage Insurance, in exchange for sharing or modifying the mortgage insurer's
          risk, or reducing losses. If such agreement provides that an affiliate of Lender takes a share of the insurer's risk in exchange
          for a share of the premiums paid to the insurer, the arrangement is often termed “captive reinsurance.” Further:
                (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage Insurance,
          or any other terms of the Loan. Such agreements will not increase the amount Borrower will owe for Mortgage
          Insurance, and they will not entitle Borrower to any refund.
                (b) Any such agreements will not affect the rights Borrower has — if any — with respect to the Mortgage Insur-
          ance under the Homeowners Protection Act of 1998 or any other law. These rights may include the right to receive
          certain disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the Mortgage Insurance
          terminated automatically, and/or to receive a refund of any Mortgage Insurance premiums that were unearned at
          the time of such cancellation or termination.
                11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to and
          shall be paid to Lender.
                If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the Property, if
          the restoration or repair is economically feasible and Lender's security is not lessened. During such repair and restoration

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          period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an opportunity to inspect such
          Property to ensure the work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken
          promptly. Lender may pay for the repairs and restoration in a single disbursement or in a series of progress payments as the
          work is completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on such Miscel-
          laneous Proceeds, Lender shall not be required to pay Borrower any interest or earnings on such Miscellaneous Proceeds.
          If the restoration or repair is not economically feasible or Lender's security would be lessened, the Miscellaneous Proceeds
          shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to
          Borrower. Such Miscellaneous Proceeds shall be applied in the order provided for in Section 2.
                In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall be applied
          to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower.
                In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the Prop-
          erty immediately before the partial taking, destruction, or loss in value is equal fo or greater than the amount of the sums
          secured by this Security Instrument immediately before the partial taking, destruction, or loss in value, unless Borrower
          and Lender otherwise agree in writing, the sums secured by this Security Instrument shall be reduced by the amount of the
          Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of the sums secured immediately before
          the partial taking, destruction, or loss in value divided by (b) the fair market value of the Property immediately before the
          partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.
                In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the
          Property immediately before the partial taking, destruction, or loss in value is less than the amount of the sums secured
          immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing,
          the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument whether or not the sums
          are then due.
                If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party (as defined
          in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to Lender within
          30 days after the date the notice is given, Lender is authorized to collect and apply the Miscellaneous Proceeds either to
          restoration or repair of the Property or to the sums secured by this Security Instrument, whether or not then due. “Opposing
          Party” means the third party that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right
          of action in regard fo Miscellaneous Proceeds.
                Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in Lender's judgment,
          could result in forfeiture of the Property or other material impairment of Lender's interest in the Property or rights under this
          Security Instrument. Borrower can cure such a default and, if acceleration has occurred, reinstate as provided in Section
          19, by causing the action or proceeding to be dismissed with a ruling that, in Lender's judgment, precludes forfeiture of
          the Property or other material impairment of Lender's interest in the Property or rights under this Security Instrument.      The
          proceeds of any award or claim for damages that are attributable to the impairment of Lender's interest in the Property are
          hereby assigned and shall be paid to Lender.
                All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the order
          provided for in Section 2.
                12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment or modifica-
          tion of amortization of the sums secured by this Security Instrument granted by Lender fo Borrower or any Successor in
          interest of Borrower shall not operate to release the liability of Borrower or any Successors in Interest of Borrower. Lender
          shall not be required to commence proceedings against any Successor in Interest of Borrower or to refuse to extend time
          for payment or otherwise modify amortization of the sums secured by this Security Instrument by reason of any demand
          made by the original Borrower or any Successors in Interest of Borrower. Any forbearance by Lender in exercising any
          right or remedy including, without limitation, Lender's acceptance of payments from third persons, entities or Successors
          in Interest of Borrower or in amounts less than the amount then due, shall not be a waiver of or preclude the exercise of
          any right or remedy.
                13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees that
          Borrower's obligations and liability shall be joint and several. However, any Borrower who co-signs this Security Instrument
          but does not execute the Note (a “co-signer”): (a) is co-signing this Security Instrument only to mortgage, grant and convey
          the co-signer’s interest in the Property under the terms of this Security Instrument; (b) is not personally obligated io pay
          the sums secured by this Security Instrument; and (c) agrees that Lender and any other Borrower can agree to extend,
          modify, forbear or make any accommodations with regard to the terms of this Security Instrument or the Note without the
          co-signer’s consent.

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                                                                                                                      LOAN #: 909216931
                Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's obligations
          under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower's rights and benefits under
          this Security Instrument. Borrower shall not be released from Borrower's obligations and liability under this Security Instru-
          ment unless Lender agrees to such release in writing. The covenants and agreements of this Security Instrument shall bind
          (except as provided in Section 20) and benefit the successors and assigns of Lender.
                14. Loan Charges. Lender may charge Borrower fees for services performed in connection with Borrower's default,
          for the purpose of protecting Lender's interest in the Property and rights under this Security Instrument, including, but
          not limited to, attorneys’ fees, property inspection and valuation fees. In regard to any other fees, the absence of express
          authority in this Security Instrument to charge a specific fee to Borrower shall not be construed as a prohibition on
          the charging of such fee. Lender may not charge fees that are expressly prohibited by this Security Instrument or by
          Applicable Law.
                If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that the
          interest or other loan charges collected or to be collected in connection with the Loan exceed the permitted limits, then:
          (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and
          (b) any sums already collected from Borrower which exceeded permitted limits will be refunded to Borrower. Lender may
          choose to make this refund by reducing the principal owed under the Note or by making a direct payment to Borrower. If
          a refund reduces principal, the reduction will be treated as a partial prepayment without any prepayment charge (whether
          or not a prepayment charge is provided for under the Note). Borrower's acceptance of any such refund made by direct
          payment to Borrower will constitute a waiver of any right of action Borrower might have arising out of such overcharge.
                15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must be in writing.
          Any notice to Borrower in connection with this Security Instrument shall be deemed to have been given to Borrower
          when mailed by first class mail or when actually delivered to Borrower's notice address if sent by other means. Notice to
          any one Borrower shall constitute notice to all Borrowers unless Applicable Law expressly requires otherwise.         The notice
          address shall be the Property Address unless Borrower has designated a substitute notice address by notice to Lender.
          Borrower shall promptly notify Lender of Borrower's change of address. If Lender specifies a procedure for reporting
          Borrower’s change of address, then Borrower shall only report a change of address through that specified procedure.
          There may be only one designated notice address under this Security Instrument at any one time. Any notice to Lender
          shall be given by delivering it or by mailing it by first class mail to Lender’s address stated herein unless Lender has
          designated another address by notice to Borrower. Any notice in connection with this Security Instrument shall not be
          deemed to have been given to. Lender until actually received by Lender. If any notice required by this Security Instrument
          is also required under Applicable Law, the Applicable Law requirement will satisfy the corresponding requirement under
          this Security Instrument.
                16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed by federal
          law and the law of the jurisdiction in which the Property is located. All rights and obligations contained in this Security
          Instrument are subject to any requirements and limitations of Applicable Law. Applicable Law might explicitly or implicitly
          allow the parties to agree by contract or it might be silent, but such silence shall not be construed as a prohibition against
          agreement by contract. In the event that any provision or clause of this Security Instrument or the Note conflicts with
          Applicable Law, such conilict shall not affect other provisions of this Security Instrument or the Note which can be given
          effect without the conflicting provision.
                As used in this Security Instrument: (a) words of the masculine gender shall mean and include corresponding neuter
          words or words of the feminine gender; (b) words in the singular shall mean and include the plural and vice versa; and
          (c) the word “may” gives sole discretion without any obligation to take any action.
                17. Borrower’s Copy. Borrower shall be given one copy of the Note and of this Security Instrument.
                18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, “Interest in the Property”
          means any legal or beneficial interest in the Property, including, but not limited to, those beneficial interests transferred in
          a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent of which is the transfer of
          title by Borrower at a future date to a purchaser.
                If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a natural
          person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior written consent, Lender may require
          immediate payment in full of all sums secured by this Security Instrument. However, this option shall not be exercised by
          Lender if such exercise is prohibited by Applicable Law.
                If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide a period of
          not less than 30 days from the date the notice is given in accordance with Section 15 within which Borrower must pay all

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                                                                                                                   LOAN #: 909216931
          sums secured by this Security Instrument. If Borrower fails to pay these sums prior fo the expiration of this period, Lender
          may invoke any remedies permitted by this Security Instrument without further notice or demand on Borrower.
               19. Borrower’s Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower shall have
          the right to have enforcement of this Security Instrument discontinued at any time prior fo the earliest of: (a) five days
          before sale of the Property pursuant to any power of sale contained in this Security Instrument; (b ) such other period
          as Applicable Law might specify for the termination of Borrower's right to reinstate; or (c) entry of a judgment enforcing
          this Security Instrument. Those conditions are that Borrower: (a) pays Lender all sums which then would be due under
          this Security Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other covenants or
          agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including, but not limited to, reasonable
          attorneys’ fees, property inspection and valuation fees, and other fees incurred for the purpose of protecting Lender's
          interest in the Property and rights under this Security Instrument; and (d) takes such action as Lender may reasonably
          require to assure that Lender's interest in the Property and rights under this Security Instrument, and Borrower's obliga-
          tion to pay the sums secured by this Security Instrument, shall continue unchanged. Lender may require that Borrower
          pay such reinstatement sums and expenses in one or more of the following forms, as selected by Lender: (a) cash;
          (b) money order; (c) certified check, bank check, treasurer's check or cashier's check, provided any such check is drawn
          upon an institution whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic Funds
          Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations secured hereby shall remain fully
          effective as if no acceleration had occurred. However, this right fo reinstate shall not apply in the case of acceleration
          under Section 18.
               20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the Note (together
          with this Security Instrument) can be sold one or more times without prior notice to Borrower. A sale might result in a
          change in the entity (known as the “Loan Servicer”) that collects Periodic Payments due under the Note and this Security
          Instrument and performs other mortgage loan servicing obligations under the Note, this Security Instrument, and Applicable
          Law. There also might be one or more changes of the Loan Servicer unrelated to a sale of the Note. If there is a change
          of the Loan Servicer, Borrower will be given written notice of the change which will state the name and address of the new
          Loan Servicer, the address to which payments should be made and any other information RESPA requires in connection
          with a notice of transfer of servicing. If the Note is sold and thereafter the Loan is serviced by a Loan Servicer other than
          the purchaser of the Note, the mortgage loan servicing obligations to Borrower will remain with the Loan Servicer or be
          transferred to a successor Loan Servicer and are not assumed by the Note purchaser unless otherwise provided by the
          Note purchaser.
               Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an individual litigant or
          the member of a class) that arises from the other party's actions pursuant to this Security Instrument or that alleges that
          the other party has breached any provision of, or any duty owed by reason of, this Security Instrument, until such Borrower
          or Lender has notified the other party (with such notice given in compliance with the requirements of Section 15) of such
          alleged breach and afforded the other party hereto a reasonable period after the giving of such notice to take corrective
          action. If Applicable Law provides a time period which must elapse before certain action can be taken, that time period will
          be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and opportunity to cure given fo
          Borrower pursuant to Section 22 and the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed
          to satisfy the notice and opportunity to take corrective action provisions of this Section 20.
               21. Hazardous Substances.As used in this Section 21: (a) “Hazardous Substances” are those substances defined
          as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following substances: gasoline,
          kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials con-
          taining asbestos or formaldehyde, and radioactive materials; (b) “Environmental Law” means federal laws and laws of
          the jurisdiction where the Property is located that relate to health, safety or environmental protection; (c) “Environmental
          Cleanup” includes any response action, remedial action, or removal action, as defined in Environmental Law; and (d) an
          “Environmental Condition” means a condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.
               Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous Substances, or
          threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow anyone else to do,
          anything affecting the Property (a) that is in violation of any Environmental Law, (b) which creates an Environmental Condi-
          tion, or (c) which, due to the presence, use, or release of a Hazardous Substance, creates a condition that adversely affects
          the value of the Property. The preceding two sentences shall not apply to the presence, use, or storage on the Property of
          small quantities of Hazardous Substances that are generally recognized to be appropriate to normal residential uses and
          to maintenance of the Property (including, but not limited to, hazardous substances in consumer products).

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                                                                                                               LOAN #: 909216931
              Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or other action by
          any governmental or regulatory agency or private party involving the Property and any Hazardous Substance or Envi-
          ronmental Law of which Borrower has actual knowledge, (b) any Environmental Condition, including but not limited to,
          any spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and (c) any condition caused
          by the presence, use or release of a Hazardous Substance which adversely affects the value of the Property. If Bor-
          rower learns, or is notified by any governmental or regulatory authority, or any private party, that any removal or other
          remediation of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
          remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on Lender for an
          Environmental Cleanup.

               NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
               22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following Borrower's
          breach of any covenant or agreement in this Security Instrument (but not prior to acceleration under Section 18
          unless Applicable Law provides otherwise).         The notice shall specify: (a) the default; (b) the action required to cure
          the default; (c) a date, not less than 30 days from the date the notice is given to Borrower, by which the default must
          be cured; and (d) that failure to cure the default on or before the date specified in the notice may result in accel-
          eration of the sums secured by this Security Instrument and sale of the Property. The notice shall further inform
          Borrower of the right to reinstate after acceleration and the right to bring a court action to assert the non-existence
          of a default or any other defense of Borrower to acceleration and sale. If the default is not cured on or before the
          date specified in the notice, Lender at its option may require immediate payment in full of all sums secured by this
          Security Instrument without further demand and may invoke the power of sale and any other remedies permitted
          by Applicable Law. Lender shall be entitled to collect all expenses incurred in pursuing the remedies provided in
          this Section 22, including, but not limited to, reasonable attorneys’ fees and costs of title evidence.
               If Lender invokes the power of sale, Lender shall execute or cause Trustee to execute a written notice of the
          occurrence of an event of default and of Lender’s election to cause the Property to be sold. Trustee shall cause
          this notice to be recorded in each county in which any part of the Property is located. Lender or Trustee shall
          mail copies of the notice as prescribed by Applicable Law to Borrower and to the other persons prescribed by
          Applicable Law. Trustee shall give public notice of sale to the persons and in the manner prescribed by Applicable
          Law. After the time required by Applicable Law, Trustee, without demand on Borrower, shall sell the Property at
          public auction to the highest bidder at the time and place and under the terms designated in the notice of sale
          in one or more parcels and in any order Trustee determines. Trustee may postpone sale of all or any parcel of the
          Property by public announcement at the time and place of any previously scheduled sale. Lender or its designee
          may purchase the Property at any sale.
               Trustee shall deliver to the purchaser Trustee’s deed conveying the Property without any covenant or warranty,
          expressed or implied.     The recitals in the Trustee’s deed shall be prima facie evidence of the truth of the statements
          made therein. Trustee shall apply the proceeds of the sale in the following order: (a) to all expenses of the sale,
          including, but not limited to, reasonable Trustee’s and attorneys’ fees; (b) to all sums secured by this Security
          Instrument; and (c) any excess to the person or persons legally entitled to it.
               23. Reconveyance. Upon payment of all sums secured by this Security Instrument, Lender shall request Trustee to
          reconvey the Property and shall surrender this Security Instrument and all notes evidencing debt secured by this Security
          Instrument to Trustee. Trustee shall reconvey the Property without warranty to the person or persons legally entitled fo it.
          Lender may charge such person or persons a reasonable fee for reconveying the Property, but only if the fee is paid to a
          third party (such as the Trustee) for services rendered and the charging of the fee is permitted under Applicable Law. if the
          fee charged does not exceed the fee set by Applicable Law, the fee is conclusively presumed to be reasonable.
               24. Substitute Trustee. Lender, at its option, may from time to time appoint a successor trustee to any Trustee
          appointed hereunder by an instrument executed and acknowledged by Lender and recorded in the office of the Recorder
          of the county in which the Property is located. The instrument shall contain the name of the original Lender, Trustee and
          Borrower, the book and page where this Security Instrument is recorded and the name and address of the successor
          trustee. Without conveyance of the Property, the successor trustee shall succeed to all the title, powers and duties conferred
          upon the Trustee herein and by Applicable Law. This procedure for substitution of trustee shall govern to the exclusion of
          all other provisions for substitution.
               25. Statement of Obligation Fee. Lender may collect a fee not to exceed the maximum amount permitted by Applicable
          Law for furnishing the statement of obligation as provided by Section 2943 of the Civil Code of California.

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                                                                                                           LOAN #: 909216931
              The undersigned Borrower requests that a copy of any Notice of Default and any Notice of Sale under this Security
          Instrument be mailed to Borrower at the address set forth above.

              BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Security Instrument
          and in any Rider executed by Borrower and recorded with it.


                                                                                                       M320 \G                 (Seal)
                           ARTUR ELIZAROV                                                                               DATE

          A notary public or other officer completing this certificate verifies only the identity of the individual who
          signed the document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that
          document.




          State of CALIFORNIA
          County of (0S Ahaeled


               On        July    31.2014                         , before me, Estcla Neon            MOYtno       PAS          pore
          (here insert name and title of the officer), personally appeared ARTUR ELIZAROV, who proved to me on tHe BL]                      C
          basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within instrument
          and acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies), and that
          by his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of which the person(s)
          acted, executed the instrument.

               I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
          paragraph is true and correct.

              WITNESS my hand and official seal.

               Signature, nual

                                                           (NOTARY)



               (S EAL)                 )     y    ESTELA NOEMY MORENO AVILES       }
                                                     Notary Public - California ~~ 2
                                                        Los Angeles County      $
                                                      Commission # 2293165
                                                  My Comm. Expires Jun 15, 2023




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                                                                                                          LOAN #: 909216931



          Lender: Goldwater Bank, N.A.
          NMLS ID: 452955
          Loan Originator: Gregory Hill
          NMLS ID: 247349




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                                                                                                  LOAN #: 909216931
                                                                                          MIN: 1009209-4100147547-4

                                               ADJUSTABLE            RATE RIDER
                         (LIBOR One-Year Index (As Published In The Wall Street Journal-Rate Caps)

                    THIS ADJUSTABLE RATE RIDER is made this                 ~~ 31st    day of July, 2019,
                and is incorporated into and shall be deemed to amend and supplement the Mortgage,
                Deed of Trust, or Security Deed (the “Security Instrument”) of the same date given by the
                undersigned (the “Borrower”) to secure Borrower's Adjustable Rate Note (the “Note”) to
                Goldwater Bank, N.A.




                (the “Lender”) of the same date and covering the property described in the Security
                Instrument and located at:         291 W. Overlook Road, Palm Springs, CA 92264-8934.



                   THE NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN                                       THE
                   INTEREST RATE AND THE MONTHLY PAYMENT. THE NOTE LIMITS                                     THE
                   AMOUNT THE BORROWER'S INTEREST RATE CAN CHANGE AT ANY                                      ONE              0
                   TIMEAND THE MINIMUMAND MAXIMUM RATES THE BORROWER MUST                                     PAY.
                   ADDITIONAL COVENANTS. In addition to the covenants and agreements made in
                the Security Instrument, Borrower and Lender further covenant and agree as follows:
                A. INTEREST RATE AND MONTHLY PAYMENT CHANGES
                    The Note provides for an initial interest rate of 5.375 %.      The Note provides for
                changes in the interest rate and the monthly payments as follows:
                4. INTEREST RATE AND MONTHLY PAYMENT CHANGES
                    (A) Change Dates
                    The interest rate | will pay may change on the 1st         day of August, 2024,
                and on that day every 12th          month thereafter. Each date on which my interest rate
                could change is called a “Change Date.”
                    (B) The Index
                    Beginning with the first Change Date, my interest rate will be based on an Index. The
                “Index” is the average of interbank offered rates for one-year U.S. dollar-denominated

                MULTISTATE ADJUSTABLE RATE RIDER-WSJ One-Year LIBOR-Single Family-Fannie Mae UNIFORM INSTRUMENT
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                                                                                                  LOAN #: 909216931

                deposits in the London market (“LIBOR”), as published in The Wall Street Journal.
                The most recent Index value available as of the date 45 days before each Change
                Date is called the “Current Index,” provided that if the Current Index is less than zero,
                then fhe Current Index will be deemed to be zero for purposes of calculating my inter-
                est rate.
                     If the Index is no longer available, the Note Holder will choose a new index which
                ie based upon comparable information. The Note Holder will give me notice of this
                choice.
                     (C) Calculation of Changes
                     Before each Change Date, the Note Holder will calculate my new interest rate by
                adding THREE                                     percentage point(s) ( 3.000%
                (the “Margin”) to the Current Index. The Note Holder will then round the result of this
                addition to the nearest one-eighth of one percentage point (0.125%). Subject to the
                limits stated in Section 4(D) below, this rounded amount will be my new interest rate
                until the next Change Date.
                      The Note Holder will then determine the amount of the monthly payment that
                would be sufficient to repay the unpaid principal that | am expected to owe at the
                Change Date in full on the maturity date at my new interest rate in substantially
                equal payments. The result of this calculation will be the new amount of my monthly
                payment.
                      (D) Limits on Interest Rate Changes
                    The interest rate | am required to pay at the first Change Date will not be greater than
                 7.375%      orless than 5.375 %.        Thereafter, my interest rate will never be increased
                or decreased on any single Change Date by more than TWO
                                                       percentage poini(s) ( 2.000%     ) from the rate
                of interest | have been paying for the preceding 12      month(s). My interest rate will
                never be greater than        11.375 %. My interest rate will never be less than the start rate or 5.375
                %.
                      (E) Effective Date of Changes
                      My new interest rate will become effective on each Change Date. | will pay the
                amount of my new monthly payment beginning on the first monthly payment date after
                the Change Date until the amount of my monthly payment changes again.
                    (F) Notice of Changes
                     The Note Holder will deliver or mail to me a notice of any changes in my interest
                 rate and the amount of my monthly payment before the effective date of any change.
                The notice will include information required by law to be given to me and also the title

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                                                                                                LOAN #: 909216931

                and telephone number of a person who will answer any question | may have regarding
                the notice.

                B. TRANSFER OF THE PROPERTY ORA BENEFICIAL INTEREST IN BORROWER
                   Section 18 of the Security Instrument is amended to read as follows:
                           Transfer of the Property or a Beneficial Interest in Borrower. As used in
                     this Section 18, “Interest in the Property” means any legal or beneficial interest
                     in the Property, including, but not limited to, those beneficial interests transferred
                     in a bond for deed, contract for deed, installment sales contract or escrow agree-
                     ment, the intent of which is the transfer of title by Borrower at a future date to a
                     purchaser.                                  :
                          If all or any part of the Property or any Interest in the Property is sold or trans-
                     ferred (or if Borrower is not a natural person and a beneficial interest in Borrower
                     is sold or transferred) without Lender’s prior written consent, Lender may require
                     immediate payment in full of all sums secured by this Security Instrument. How-
                     ever, this option shall not be exercised by Lender if such exercise is prohibited
                     by Applicable Law. Lender also shall not exercise this option if: (a) Borrower
                     causes to be submitted to Lender information required by Lender to evaluate
                     the intended transferee as if a new loan were being made to the transferee; and
                     (b) Lender reasonably determines that Lender's security will not be impaired by
                     the loan assumption and that the risk of a breach of any covenant or agreement
                     in this Security Instrument is acceptable to Lender.
                         To the extent permitted by Applicable Law, Lender may charge a reasonable
                     fee as a condition to Lender’s consent to the loan assumption. Lender may also
                     require the transferee to sign an assumption agreement that is acceptable to
                     Lender and that obligates the transferee to keep all the promises and agreements
                     made in the Note and in this Security Instrument. Borrower will continue to be
                     obligated under the Note and this Security Instrument unless Lender releases
                     Borrower in writing.
                          If Lender exercises the option to require immediate payment in full, Lender
                     shall give Borrower notice of acceleration. The notice shall provide a period of not
                     less than 30 days from the date the notice is given in accordance with Section
                     15 within which Borrower must pay all sums secured by this Security Instrument.
                     If Borrower fails to pay these sums prior to the expiration of this period, Lender
                     may invoke any remedies permitted by this Security Instrument without further
                     notice or demand on Borrower.

                MULTISTATE ADJUSTABLE RATE RIDER-WSJ One-Year LIBOR-Single Family-Fannie Mae UNIFORM INSTRUMENT
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              User :DBRO                           Document 284-15 Filed 05/23/23 Page 25 of 27 Page ID
                                                            #:7100
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                                                                                                         LOAN #: 909216931

                BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants
                contained in this Adjustable Rate Rider.


                    {                                                                          N2oNale,                    (sean
                 ARTORELIZAROV                                                                                    DATE




                MULTISTATE ADJUSTABLE        RATE RIDER-WSJ   One-Year LIBOR-Single Family-Fannie Mae UNIFORM INSTRUMENT
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                Ellie Mae, Inc.                                    Page 4 of 4                                 F3189RLU     0816
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                                   #:7101



   1                                         PROOF OF SERVICE
   2         I am employed in the County of Orange, State of California. I am over the age of 18 and
     not a party to the within action. My business address is 1851 East First Street, 10th Floor, Santa
   3 Ana, CA 92705-4052.

   4          On March 3, 2023, I served the within document(s) described as:
   5        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS, OR
       TO PERMIT INSPECTION OF PREMISES IN CIVIL ACTION
   6
              on each interested party in this action, as stated below:
   7
                                      SEE ATTACHED SERVICE LIST
   8
             BY E-MAIL: I caused a true copy of the document(s) to be sent to the persons at the
   9 corresponding electronic address as indicated above on the above-mentioned date. My electronic
     notification address is descobedo@hallgriffin.com. I am readily familiar with this firm’s
  10 Microsoft Outlook electronic mail system and did not receive any electronic message or other
     indication that the transmission was unsuccessful.
  11
             I declare under penalty of perjury under the laws of the State of California that the
  12 foregoing is true and correct.

  13          Executed on March 3, 2023, at Santa Ana, California.

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                                                         Daniela Escobedo
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   1                                     SERVICE LIST
                             Goldwater Bank, N.A. v. Artur Elizarov, et al.
   2                              Case No. 5:21-cv-00616-JWH-SP
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   4 Abbey M. Krysak, Esq.                          Hilbert & Satterly LLP
     Wagner Hicks PLLC                              409 Camino Del Rio South, Suite 104
   5 831 E. Morehead St., Suite 860                 San Diego, CA 92108
     Charlotte, NC 28202                            (619) 795-0300; Fax: (619) 501-6855
   6 (704) 705-7538; Fax: (704) 705-7787            jhilbert@hscallaw.com
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   7 derek.bast@wagnerhicks.law                     trohner@hscallaw.com
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     Cross-Defendant Goldwater Bank, N.A.
   9
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  10 Marina Samson, Esq.                            LOIA, Inc. (APLC)
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     Attorneys for Plaintiff and Cross-Defendant    Ilya Alekseyeff (in Pro Per)
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     Corp.
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